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Case 2:14-cv-01512-LDG-NJK Document 195 Filed 08/01/16 Page 1 of 2

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
WILLIAM BRIDGE, individually and on behalf 2:14-cv-1512-LDG-NJK
of all others similarly situated,
ORDER

Plaintiff,
V.

CREDIT ONE FINANCIAL, a Nevada
corporation, d/b/a CREDIT ONE BANK, N.A.,

Defendant.

 

 

 

On March 31, 2016, the court granted defendant Credit One Bank’s motion to compel
arbitration and stayed the action pending the outcome of arbitration (#178). Subsequently,
plaintiff Bridge filed a petition for writ of mandamus with the Ninth Circuit Court of Appeals
naming this court as the respondent and defendant Credit One as the real party in interest. This
court was granted leave to issue a supplemental order in the case.

After reviewing the court’s March 31, 2016, order and plaintiff Bridge’s petition for writ of
mandamus, and because oral arguments were not conducted before issuance of the motion to
compel arbitration, the court will grant sua sponte a motion to reconsider the motion to compel
arbitration, and schedule the motion to compel arbitration, the motion to strike class claims, the

motion to disqualify, and the motion to dismiss for oral arguments.

 
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Case 2:14-cv-01512-LDG-NJK Document 195 Filed 08/01/16 Page 2 of 2

THE COURT HEREBY ORDERS that a sua sponte motion to reconsider the court’s order
granting defendant’s motion to compel arbitration (#178) is GRANTED.

THE COURT FURTHER ORDERS that a hearing be scheduled on August 31, 2016, at
2:00 p.m. in order to hear arguments on defendant’s motion to compel arbitration (#110), motion

to strike class claims (#111), motion to disqualify (#112), and motion to dismiss (#113).

DATED this IE as of August, 2016.

 

United Stay’ fes District Judge

 
